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EXHIBIT: 8B

 
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EMPLOYMENT LETTER

 
MASSBAUIWENTERTAINMEN P-GOR Piece 220

100 Pine St, East Moriches, NY 11940 e massbaum@gmail.com

June 13, 2014

To Whom it May Concern:

This letter will serve as verification that William Harness is employed by Massbaum
Entertainment.

He is currently under contract with our company as a Recording Artist. We have secured a
budget for the production, distribution and promotion of his next album. We are prepared to move
into production on this album immediately upon his release from prison. We have also made
arrangements to furnish him with a monthly salary to cover living expenses.

The outlook for his development as a commercially viable entertainer is extremely good and we
hope to have-him with our company for many years to come.

If you have any questions regarding his employment situation, please feel free to
contact me at the number listed below.

Sincerely,

a a

Sebastian Marbury
President, CEO Massbaum Entertainment
Phone (917) 753-5522

NOTARY:

State of AN nw Vir kr

County of Sv FH Ik

Subscribed and sworn to before me on this | 3 day of Jy (\X. inthe year
by

SEBASH AN MAK BURY

(Name of document signer)

tel

L Notary Public ~

LEO P DAVIS
NOTARY PUBLIC, State of New York
No. 02DA4806305, Suffolk County
Term Expires: 3/30/

 

 

 

 

 

 

 
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RESIDENCE LETTER

 
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June 23, 2014
Attn: William Curtis Harness #193705
To whom it may concern:

My name is Kelsea Akers and | am William Harness’ sister-in-law. | am writing this letter to
inform you that, upon release from prison, William Harness and his children will be living with myself,
my fiancé (Curtis Harness- William’s brother), and our son (Carter Harness- William’s nephew). He will
be living with us until he is financially ready to get his own place. Our current address through December

2014 is:
5731 River Rd. Apt. 216 Nashville, TN 37209

However, this address is subject to change since we are currently in the process of looking to
purchase our own home. Our lease with the address listed above is good through December of this year
unless we find and buy a house before then. Any changes will be sent immediately. Thank you for your

time and please do not hesitate to contact me and/or Curtis in regards to this situation.

Warmest regards,

Kelsea Akers

kelseaakers@yahoo.com
kelsea.akers@resultsphysiotherapy.com

Cell: 615-440-1717

Curtis Harness

c.harness88@gmail.com

Cell: 615-506-3366

 
